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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WARREN HILL, LLC,                                     : CIVIL ACTION
                                                      :
                        Plaintiff,                    : 2:18-01228-HB
                                                      :
        v.                                            :
                                                      :
                                                      :
SFR EQUITIES, LLC,
                                                      :
                                                      :
                              Defendant.              :
                                                      :

                DEFENDANT SFR EQUITIES, LLC’S REPLY BRIEF
    IN FURTHER SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT

        Defendant SFR Equities, LLC (“SFR”) respectfully submits this Memorandum of Law in

Reply to the brief filed by plaintiff Warren Hill, LLC (“Warren Hill”) in opposition to SFR’s

Motion for Partial Summary Judgment.

        SFR’s Motion for Partial Summary Judgment is a straightforward motion, simply seeking

to have this Court interpret a contract between two sophisticated parties, represented by counsel,

containing an integration clause. Specifically, SFR’s motion merely asks the court to interpret

two separate provisions of the Membership Interest Purchase Agreement (“MIPA”), an

agreement governing the acquisition of a partial interest in Vendor Assistance Program, LLC

(“VAP”) by and between Warren Hill and SFR, among others. First, SFR’s motion asks this

Court to interpret how “Revenue” is defined and calculated under the terms of the MIPA, for

purposes of assessing how the MIPA’s “Earnout” is calculated.1


1
 As a general matter, an earnout provision is a “contractual provision in a merger [or other
acquisition] agreement that creates a contingent payment obligation for the acquirer. The
contingency is payable upon the seller achieving certain targets, financial or nonfinancial, during
the post-closing period. From the point of view of the buyer and seller, the goal of the earnout is
to overcome significant valuation differences that may come between the parties during
negotiations and prevent them from reaching agreement.” Brian J.M. Quinn, Putting Your


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        Second, SFR asks this Court to determine that a “cash basis” is the proper accounting

method for performing calculations under the MIPA, in accordance with the MIPA’s provisions.

In opposition to this motion, Warren Hill attempts to confuse the issues by improperly

interjecting extensive unrelated factual and legal material, and arguing facts and issues unrelated

to this motion, in an attempt to dissuade the Court from deciding issues squarely within the

Court’s purview. As detailed in SFR’s principal brief, and further supported herein, SFR is

entitled to partial summary judgment on the definition of “revenue” and on the proper method of

accounting under the agreement.

        A.      The MIPA Does Not Include Fees Earned by the Bluestone Entities as part
                of the Earnout

        The definition of “Revenue” under the MIPA does not include fees earned by other

entities.

        Section 1.2 of the MIPA defines the purchase price associated with SFR’s purchase of

VAP from Warren Hill. Included in this section is the earnout provision, which provides as

follows:

                 (d) Further, for each of the three years following the Closing Date, [SFR]
        shall . . . pay [Warren Hill] an amount equal to 50% of VAP’s Net Income (as
        defined below allocable to the Interests for such year. “Net Income” is defined to
        mean (i) the sum of (A) any and all fees earned by VAP in its capacity as manager
        or administrator of (1) the vendor assistance trust and/or (2) any other trust or
        account maintained in the course of VAP’s business . . . .

        Statement of Undisputed Material Facts, at ¶8.

        Under the terms of the MIPA, “earned” is undefined. However, Illinois courts have

relied upon Black’s Law Dictionary to define “earn” as “[t]o acquire by labor, service or

performance . . . to merit or deserve . . . .” Camillo v. Wal-Mart Stores, Inc., 221 Ill. App. 3d


Money Where Your Mouth Is: The Performance of Earnouts in Corporate Acquisitions, 81 U.
Cin. L. Rev. 127, 133 (2012).

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614, 623 (1991) (citing Black’s Law Dictionary 508 (6th ed. 1990)). Black’s Law Dictionary

also specifies that “earned” means “to merit or deserve, as for labor or service. To do that which

entitles one to a reward, whether the reward is received or not; to acquire by labor, service or

performance.” Black’s Law Dictionary 508 (6th ed. 1990). Within the context of taxation,

income is “taxed to him who earns it . . . through his own labor and skill and the utilization of his

own capital . . . .” Comm’r v. Culbertson, 337 U.S. 733, 740 (1949); see also Comm’r v. Banks,

543 U.S. 426, 433-34 (2005) (principle that gains should be taxed “to those who earned them” is

“a maxim we have called ‘the first principle of income taxation’”). Within the corporate context,

“corporate earnings” have been defined as “[t]he book income as reported to the shareholders

which is adjusted for distortions in the current and prior years created by nonrecurring-type gains

and losses or by use or correction of inconsistent or erroneous accounting practices.” See, e.g.,

61 Pa. Code § 155.22 (2018).




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        As highlighted fully in SFR’s Motion for Partial Summary Judgment, Warren Hill is a

sophisticated party that was represented by counsel in the negotiation of the MIPA, resulting in a

contract containing an integration clause. Under these circumstances, the “four corners” rule

applies, and extrinsic evidence may not be considered in interpreting the contract. TAS Distrib.

Co. v. Cummins Engine Co., 491 F.3d 625, 636 (7th Cir. 2007) (quoting Air Safety, Inc. v.

Teachers Realty Corp., 706 N.E.2d 882 (Ill. 1999)). There is no provision of the MIPA that

prevented VAP from establishing affiliated corporate entities to develop its business as it saw fit

(indeed, VAP is not a party to the earnout provisions of the MIPA). There is not even a

requirement in the MIPA that VAP continue to operate as a going concern. Further, there is no

provision of the MIPA that provides that Warren Hill is entitled to earnings of companies other

than VAP. Therefore, this Court should grant partial summary judgment in favor of SFR.



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        B.       The Illinois Vendor Payment Program Does Not Prohibit the Assignment of
                 Fees or Transfer of Trust Certificates

        Although not relevant for purposes of evaluating Warren Hill’s rights against SFR under

the MIPA, Warren Hill misinterprets the terms of the State of Illinois vendor payment program

which are applicable only to VAP.

        The terms of the Vendor Payment Program (the “Program”) govern the process by which

the State of Illinois pays its vendors. (Pl. Opp., Ex. 9, p. 1). As a result of a cash flow deficit

and an inability to pay vendors, the State of Illinois implemented a program to give qualified

institutions the opportunity to purchase outstanding accounts receivable from vendors of the

State. Id.

        Section I defines “Assigned Receivable” as follows:

        “[T]he Base Invoice Amount of a Qualified Account Receivable and any
        associated assigned penalties due, currently or in the future, in accordance with
        the Prompt Payment Act. An Assigned Receivable shall be subject to an
        Assignment Agreement where no prior assignment of the Account Receivable is
        reflected in the State Comptroller’s payment system and where the Account
        Receivable for the Base Invoice Amount in the state Comptroller’s payment
        system identifies the Qualified Purchaser.”

(Pl. Opp., Ex. 9, p. 2). Thus, “Assigned Receivable” is concerned with the purchased receivable

account from a vendor to the State of Illinois, subject to an “Assignment Agreement.”

        As noted by Warren Hill, under Section II.5 of the terms of the Program, “[a]n Assigned

Receivable (or any interest therein) may not be subsequently assigned, sold or otherwise

transferred . . . .” However, this provision does not apply to the use of a credit facility.

Specifically, Section II.6 of the Program Terms states as follows:

        “[n]otwithstanding the foregoing provisions of Section II . . . the Assigned
        Receivables may be pledged as collateral to a person or entity . . . for the purpose
        of securing a credit facility solely for the purpose of purchasing Qualified
        Accounts Receivable, and such collateralization as well as the exercise by such
        person or entity of its remedies with respect to the Assigned Receivables pledged
        to it as collateral under applicable law shall not be considered an assignment, sale

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         or transfer necessitating the prior execution and delivery to the State of a
         Qualified Purchaser Designation with respect to such person or entity. . . .

         (Pl. Opp., Ex. 9, p. 10).

         In the instant matter, VAP has not assigned any Accounts Receivable as defined by the

Program. Instead, the Receivables were purchased through the trusts utilizing loans from various

financial institutions secured by the trust assets in compliance with Section II.6 of the Program

Terms.

         Furthermore, VAP has not been deemed to be out of compliance by the State of Illinois

Comptroller or the Department of Central Management Services.                 The Program Terms

specifically require the submission of monthly written reports to the State Comptroller, and the

Program Terms subject Qualified Purchasers (including VAP) to review by the Department of

Central Management Services. (Pl. Opp., Ex. 9, p. 12). There is no allegation that VAP failed to

comply with its reporting requirements, or otherwise was deemed out of compliance with the

Program by either the State Comptroller or the Department of Central Management Services, nor

can there be.

         Finally, even if VAP were somehow out of compliance with the terms of the program,

this is not the appropriate forum to determine VAP’s compliance.              The requirements of

prudential standing normally prohibit a plaintiff from asserting the legal claims of third parties.

See, e.g., Rawoof v. Texor Petrolium Co., 521 F.3d 750, 756 (7th Cir. 2008) (“every action shall

be prosecuted by the real party in interest”); Secretary of State of Md. v. Joseph H. Munson Co.,

467 U.S. 947, 955 (1984) (a plaintiff ordinarily “cannot rest his claim to relief on the legal rights

or interests of third parties”); Arlington Heights v. Metropolitan Housing Development Corp.,

429 U.S. 252, 263 (1977) (“In the ordinary case, a party is denied standing to assert the rights of

third persons”); Warth v. Seldin, 422 U.S. 490, 501 (1975) (expressing a “reluctance to exert


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judicial power when a plaintiff’s claim to relief rests on the legal rights of third parties”).

Neither VAP nor the State of Illinois are a party to this lawsuit. VAP is not controlled by SFR,

who only controls one of the six seats on VAP’s board. Warren Hill is also not a vendor who

was impacted by VAP’s participation in the Program. If Warren Hill seeks to challenge the

propriety of VAP’s participation in the Program, it should appropriately seek relief against VAP

or the State of Illinois, not SFR. Warren Hill’s attempt to have this Court declare VAP out of

compliance with the State of Illinois’s Program is a violation of the prudential standing

requirements by attempting to litigate VAP’s rights vis a vis the State of Illinois, without having

either party present.

        C.     Warren Hill’s Argument about Valid Assignments Has No Bearing on the
               MIPA

        Warren Hill’s argument that the assignment of management duties to BSF and/or BCM

has no bearing on the MIPA’s Earnout provision is also without merit. Warren Hill seems to

argue that, by virtue of being in a position where it is able assign management duties to BSF

and/or BCM, VAP must have, in effect, earned those fees itself despite not actually providing

any of the services.

        In addition to running contrary to the legal definition of “earn,” discussed supra, there is

also no support for this position in the case law cited by Warren Hill. An assignment “is a

transfer of some identifiable property, claim, or right from the assignor to the assignee . . .”

Litwin v. Timbercrest Estates, Inc., 37 Ill. App. 3d 956, 958 (1976) (emphasis added). While

VAP may have had the right to earn certain fees through administration of the trusts, VAP

assigned that right to BSF, who undertook the work required to earn various trust fees by

actually doing the administration. By assigning these duties to BSF, VAP was not in a position

to earn income itself from these assigned duties.


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        Furthermore, the transfer of various trust certificates and related management duties to

BCM also cannot be found to be income earned by VAP. The trust certificates entitle the holder

to various payouts. As VAP was not the holder, it had no right to any income or fees related to

those certificates.

        Warren Hill’s reliance on the “assignment of income” doctrine, which is a doctrine of tax

law, is further misplaced. Under this doctrine, “taxpayers may not shift their tax liability by

merely assigning income that the taxpayer earned to someone else.” Cole v. Comm’r, 637 F.3d

767, 777 (7th Cir. 2011) (emphasis added). Cole involved the case of a pro se litigant who, inter

alia, was a partner in a partnership group that earned over $1 million in taxable deposits in 2001

alone. In that matter, the Coles argued both that they had divested from the partnership and, in

the alternative, that they had assigned the partnership’s earned income to another entity. See id.

at 772. However, Cole involved a matter where the partnership had earned its income by

performing legal services itself, and sought to assign the proceeds that had been earned through

performance of services. See id. at 769-70. In its opinion, the court held that the Coles had not

divested from the partnership, and the partnership had earned the income at issue, thereby

subjecting the Coles to tax liability. See id. at 776, 782. The Coles were prohibited from

assigning their income because they had earned the income themselves. See id. at 772, 777

(discussing the tax consequences of the earned income assignment).

        In the instant matter, VAP performed no actual work to earn the various income earned

by BCM and BSF. As discussed extensively supra, various management duties were assigned to

BSF as a result of its administration of the Program trusts, and revenue was earned by BCM via

its position as the certificate holder. All the actions required to earn this income were performed




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by BSF and BCM. VAP did nothing to earn this revenue, whether from a tax perspective or

otherwise.

        Therefore, because VAP did not earn the income at issue in this matter, VAP’s position

as an assignor has no bearing on the calculation of the Earnout under the MIPA.

        D.     Warren Hill’s Provides No Support for its Conclusion Regarding the
               Relationship between VAP and BSF/BCM

        Warren Hill’s argument that BCM and BSF can be characterized as subcontractors is

belied by its own argument about assignments, and is made without any legal support.

        Warren Hill argues that BCM and BSF are analogous to a subcontractor, whereby VAP

earns a fee itself, and then pays an expense to BSF or BCM. This is belied by the assignment

arrangement, discussed supra. As extensively covered herein, VAP has done nothing to earn the

fees in dispute. VAP assigned management responsibilities to BSF or BCM. BSF or BCM is

then the entity responsible for taking the requisite action to earn the fees by virtue of the

assignment. This is unlike the Cole decision, cited by plaintiffs, where the Coles earned fees by

providing legal services through a partnership, and after earning the fees for services rendered,

attempted to transfer those fees to another entity which had no part in earning the fees. See id. at

770. Here, VAP did not earn the fees, and the right to the fees earned by the work of BSF or

BSM was transferred to those respective entities. Consequently, as previously explained, VAP

has not earned the fees at issue itself, and Warren Hill is not entitled to those fees as part of the

MIPA Earnout.

        E.     The Phrase “Allocable to the Interests” Has No Bearing on Net Income

        The phrase “allocable to the Interests” has no bearing on the calculation of Net Income,

which is specifically prescribed by the MIPA. Instead, the plain reading of this clause only

serves to limit the amount of VAP’s net income which is subject to the Earnout.


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        In Illinois, contracts are to “be interpreted as a whole, in a way that gives effect to all

terms, in the light of their ordinary and natural meanings.” Lasalle Nat’l Trust, N.A. v. ECM

Motor Co., 76 F.3d 140, 144 (7th Cir. 1996) (citing In re Halas, 470 N.E.2d 960, 965 (Ill.

1984)). “When the terms of the contract are clear, the court must ascertain that intent solely

from the language of the agreement.” Id. (citing Lathrop v. Bell Federal Savings & Loan Ass’n,

68 Ill. 2d 375 (1977)); see also Travelers Home & Marine Ins. Co. v. Walsh, 2017 U.S. Dist.

LEXIS 35841, at *4 (N.D. Ill. March 14, 2017).

        The MIPA preamble defines “Interests” as the “33.246% of the membership interests”

owned by Warren Hill prior to the execution of the MIPA, which was purchased by SFR.

Statement of Material Facts, Exhibit “A,” at 1.    The Earnout clause provides that “for each of

the three years following the Closing Date, Purchaser shall . . . pay Seller an amount equal to

50% of VAP’s Net Income (as defined below) allocable to the Interests for such year.” Id. at 2.

(emphasis added). This “allocable to the Interests” clause serves to provide a basis for the

allocation of a percentage of Net Income that is subject to the Earnout calculation. Specifically,

this clause requires that the Earnout provide “50% of VAP’s Net Income . . . allocable to the

[33.246% of the membership interests transferred to SFR].” Id. Therefore, this clause provides

that the calculation of the Earnout is as follows: Earnout = 50% of VAP Net Income (as defined

by the MIPA) * 33.246%. Accordingly, SFR is correct to exclude revenue earned by BCM and

BSF from the Earnout calculation.

        This clause has no bearing on the definition of “earn,” as provided in the MIPA. It only

relates to the interests sold by Warren Hill to SFR. SFR’s decision to hold a membership interest

in BCM or BSF has no bearing on the amount of Net Income allocable to its membership

interests in VAP, as both Net Income and Interests are specifically defined by the MIPA and



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relating solely to VAP.      Neither term addresses any income earned by other companies

whatsoever in its definition. Under these circumstances, this clause has no bearing on VAP’s

earnings.

        F.       The Instant Motion Is Timely under Federal Rule 56(b) and (d)

        The instant motion is not premature under Federal Rules of Civil Procedure 56(b) and

(d). Rule 56(b) provides that “[u]nless a different time is set by local rule or the court orders

otherwise, a party may file a motion for summary judgment at any time until 30 days after the

close of discovery.” F.R.Civ.P. 56(b). Rule 56(d) provides that “[i]f a nonmovant shows by

affidavit or declaration that, for specified reasons, it cannot present facts essential to justify its

opposition, the court may: (1) defer considering the motion or deny it; (2) allow time to obtain

affidavits or declarations or to take discovery; or (3) issue any other appropriate order.”

F.R.Civ.P. 56(d).

        “A partial summary judgment order entered in accordance with Rule 56(d) is not a final

judgment but is merely a pretrial adjudication that certain issues are established for trial of a

case.” FDIC v. Massingill, 24 F.3d 768, 774 (5th Cir. 1994). A motion may be made at any

time for summary judgment, and is not premature because discovery has not been completed and

pretrial statements are not yet due. See Alholm v. American S.S. Co., 144 F.3d 1172, 1998 AMC

2352, 2358 (8th Cir. 1998); Groover v. Magnavox Co., 71 F.R.D. 638, 639 (W.D. Pa. 1976). In

the event that additional time is required to secure evidentiary material, the Rules of Civil

Procedure provide for an allowance of time to secure the required materials. See Groover, 71

F.R.D. at 639.

        In the instant matter, Warren Hill seems to argue that this Motion is premature because it

is attempting to engage in further discovery in an effort to pierce the corporate veil among VAP,

BSF, and BCM. However, Warren Hill fails to explain how a decision piercing the corporate

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veil will affect the calculation of the Earnout, or to even assert that such a decision would affect

the Earnout whatsoever. It further does not assert that a decision piercing the corporate veil

would affect the appropriate accounting method to be employed under the MIPA. Finally, it is

not even clear that piercing the corporate veil would be proper among companies that have not

been named as parties to this lawsuit, and Warren Hill has not briefed such issue. Cf. Rawoof v.

Texor Petrolium Co., 521 F.3d 750, 756 (7th Cir. 2008) (“every action shall be prosecuted by the

real party in interest”); Secretary of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 955

(1984) (a plaintiff ordinarily “cannot rest his claim to relief on the legal rights or interests of

third parties”); Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252,

263 (1977) (“In the ordinary case, a party is denied standing to assert the rights of third

persons”); Warth v. Seldin, 422 U.S. 490, 501 (1975) (expressing a “reluctance to exert judicial

power when a plaintiff’s claim to relief rests on the legal rights of third parties”). Consequently,

the discovery necessary for Warren Hill to complete its piercing the corporate veil claim has no

apparent bearing on the instant motion, and Warren Hill’s assertion that discovery is necessary

on this issue should be disregarded by the Court for purposes of this Motion.

        G.      The Plain Language of the MIPA Requires Calculating the Earnout on A
                Cash Basis of Accounting

        Finally, Warren Hill’s argument that a “hybrid” interpretation of accounting completely

belies the natural language of the MIPA. Instead, a plain reading of the MIPA requires that a

cash basis be employed.

        In the interpretation of a contract, a court is to presume that language of the contract is

purposeful. In Illinois, a Court is to interpret a contract “in a way that gives effect to all terms, in

light of their ordinary and natural meanings.” Lasalle Nat’l Trust, N.A. v. ECM Motor Co., 76

F.3d 140, 144 (7th Cir. 1996), see also Sunstar, Inc. v. Alberto-Culver Co., 2003 U.S. Dist.


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LEXIS 17431, at *9 (N.D. Ill. September 29, 2003) (“a contract must be interpreted to give

effect to all terms of the contract”). “The Court must give effect, to the extent possible, to all

contractual provisions, reviewing each in light of all of the others.” Super Stop Petroleum, Inc.

v. Clark Retail Enters., 308 B.R. 869, 887 (N.D. Ill. Bankr. 2004) (citing Atl. Mut. Ins. Co. v.

Metron Eng’g & Constr. Co., 83 F.3d 897, 901 (7th Cir. 1996)). Courts “are not free to cast

aside the agreed upon terms of a contract . . . .” Grun v. Pneumo Abex Corp., 163 F.3d 411, 421-

22 (7th Cir. 1998).

        Warren Hill argues that the language “fees earned” in the MIPA is itself an accrual

concept, requiring at that an accrual or hybrid accounting concept be employed. In effect,

Warren Hill is arguing that, any time earnings are ever at issue in a contract, an accrual basis of

accounting must be employed, at least as to the earnings.

        Warren Hill provides no support in law for this interpretation. More importantly, in this

instance, Warren Hill’s interpretation runs contrary to the plain language of the MIPA, as it asks

the Court to disregard the plain application of certain MIPA terms. As explained in SFR’s

principal brief, Section 1.2(d) of the MIPA (the provision specifically governing the calculation

of the Earnout) provides that, “[f]or purposes of [the MIPA], all Revenues are recognized when

they are received by VAP, and all Expenses are recognized when they are paid by VAP.”

Statement of Material Facts, Exhibit “A,” at p. 3 (emphasis added). “Revenue” is capitalized in

the MIPA, reflecting that it is a defined term.

        Section 1.2(d) further defines “Revenue” as “Items (A) through (D) of clause (i) of the

preceding sentence.” Id. The language specifically cited by Warren Hill in support of its

argument for the application of accrual concepts (“fees earned”) is included in items (A) and (C)

of that preceding sentence that defines “Revenue.” Therefore, the MIPA states that “Revenues”



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are “recognized when received,” and specifically defines “fees earned” as “Revenue.” The only

natural reading of this clause is that fees earned, as Revenue, are to be recognized under Section

1.2(d) when they are received. Any alternate reading would require the Court to either disregard

the clause “Revenues are recognized when they are received,” or else disregard that “fees

earned” are specifically included within the definition of “Revenue.” Such a construction cannot

be supported by the MIPA under the principles of Illinois contract interpretation, and thus should

be rejected by the Court.

        When “the terms of a contract are clear, the court must ascertain that intent solely from

the language of the agreement.” Lasalle Nat’l Trust, N.A. v. ECM Motor Co., 76 F.3d 140, 144

(7th Cir. 1996). Here, Warren Hill also asks the Court to infer ambiguity from Schedule 1.2(d)

of the MIPA, which is identified as an illustration of “examples of the calculation and payment

of VAP’s Net Income allocable to the Interests.”         This schedule; however, provides no

information about the appropriate method of accounting. Instead, it is a potential illustration of

the calculation of the Earnout, discussed supra (Earnout = 50% of VAP Net Income (as defined

by the MIPA) * 33.246%). As an example calculation, it provides no information about how the

numbers included in the example were reached, or even if the numbers relate to any real world

figures whatsoever. This schedule injects no ambiguity into the contract itself, and provides no

basis for examining extrinsic evidence to muddle what are otherwise clear contractual

provisions.

        Therefore, this Court should grant partial summary judgment to SFR and determine that

the MIPA requires the Earnout to be paid according to a cash basis of accounting.

        H.     Conclusion

        For the reasons stated above, SFR Equities, LLC respectfully requests that this Court

grant its Motion for Partial Summary Judgment.

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                                         Respectfully submitted,

                                               WHITE AND WILLIAMS LLP



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Dated: January 7, 2019




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WARREN HILL, LLC,                                       : CIVIL ACTION
                                                        :
                         Plaintiff,                     : 2:18-01228-HB
                                                        :
        v.                                              :
                                                        :
                                                        :
SFR EQUITIES, LLC,
                                                        :
                                                        :
                               Defendant.               :



                                 CERTIFICATE OF SERVICE

        I, Michael N. Onufrak, hereby certify that on this 7th day of January, 2019, I caused the

foregoing Reply Brief in Further Support of Defendant’s Motion to Dismiss to be filed and

served upon the following electronically by the Court’s ECF system.

                                          Gregory S. Voshell
                                         Thomas B. Helbig, Jr.
                                         Elliot Greenleaf, P.C.
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                                                        _________/s/Michael N. Onufrak________
                                                                  Michael N. Onufrak




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